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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA




MARIANNE POWELL-KLINE

                                             :          CIVIL ACTION
                                             :
                 vs.                         :
                                             :          NO. 10-7418
F.H. CANN & ASSOCIATES, INC., et al.

                                        ORDER


               AND NOW, TO WIT: This 29th day of March, 2011,
it having been reported that the issues between the parties in the above action have been
settled and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of the Local
Rules of Civil Procedure of this Court , it is

             ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel without costs.




                                             MICHAEL E. KUNZ, Clerk of Court

                                                        s/carol d. james
                                             BY:
                                                        Carol D. James
                                                        Deputy Clerk




Civ 2 (8/2000)
41(b).frm
